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IN THE U.S. DISTRICT COURT
DISTRICT OF MARYLAND (GREENBELT)

Elsie-Shanta Sharp

Plaintiff,

Carrie Ward, et al. Case No. 8:15-cv-00392-GJH

Defendants.

 

 

MOTION TO DISMISS

Defendants George Jacob Geesing, Howard Bierman, Carrie Ward, and BWW Law
Group, LLC! (“Moving Defendants”), by counsel, and pursuant Rules 12(b)(6) and 8(a) of the
Federal Rules of Civil Procedure, move to dismiss Plaintiff's Complaint with prejudice for
failure to state a claim upon which relief can be granted.

The reasons for this Motion are more fully set forth in the Motion to Dismiss Plaintiff's
Complaint and Memorandum of Law In Support filed in this case by co-defendants Nationstar
Mortgage LLC, Mortgage Electronic Registration Systems, Inc., and Federal National Mortgage
Association on October 1, 2015, which is hereby fully adopted and incorporated herein by
reference to the extent it seeks dismissal of Plaintiff's Complaint.

WHEREFORE, Defendants George Jacob Geesing, Howard Bierman, Carrie Ward, and BWW
Law Group, LLC respectfully request that this Court grant the instant Motion to Dismiss. Also

attached hereto, please find a proposed Order granting this Motion.

 

' Plaintiff's Complaint names “George Jacob Geesing, Attorney, (etcetera all, or and or assigns), BWW Law
Group” as a defendant. It is assumed that the reference to BWW Law Group is a misnomer. To the extent Plaintiff
intended to sue BWW Law Group, LLC, this motion should be equally construed as being brought by said party.
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Respectfully submitted,

/s/ David Solan, Esq.

David Solan, Esq. (Bar #: 29820)
BWW Law Group, LLC

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CERTIFICATE OF SERVICE
I hereby certify that on the 12" day of October, 2015, a copy of the foregoing Motion to
Dismiss was filed electronically with the U.S. District Court and, pursuant to L.R. 102.1.c., the
Court’s notice of electronic filing constitutes a certificate of service on all other counsel in the
action. In addition, the forgoing was served on the following via U.S. mail, postage prepaid:

Elsie-Shanta Sharp
14110 Kydan Court
Brandywine, MD 20613

Christopher Halmy, Chief Financial Officer GMAC Bank, Limited Liability Corporation
GMAC Mortgage Limited Liability Corporation a/k/a Ally Bank

200 Renaissance Center

Detroit, Michigan 48243

Francis Insley, Resident Agent
Trident Title

Ist Chesapeake Home Mortgage
135 Spa Drive

Annapolis, Maryland 21403

Francis Insley, Resident and

Signing Agent Trident Title

Ist Chesapeake Home Mortgage

2525 Riva Road, Suite 121

Annapolis, Maryland 21401
/s/_ David Solan, Esq.
Federal Bar ID: 29820
